UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J.LBR 9004-2(c)

                                                                 Order Filed on November 16, 2021
                                                                 by Clerk
                                                                 U.S. Bankruptcy Court
                                                                 District of New Jersey



In re:                                               Case No.:            19-12809 (JKS)
NEW ENGLAND MOTOR FREIGHT, INC.,
et al.,

KEVIN P. CLANCY, solely in his capacity as           Adv. No.:            21-01100 (JKS)
the LIQUDATING TRUSTEE,
                                                     Judge:               John K. Sherwood
                       Plaintiff,

v.

SHIPLEY FUELS MARKETING, LLC,

                       Defendant.


                   STIPULATION AND CONSENT ORDER
        RESOLVING DISPUTES WITH SHIPLEY FUELS MARKETING, LLC

      The relief set forth on the following pages, numbered two (2) through eight (8) is
      hereby ORDERED.




        DATED: November 16, 2021




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY

    In re:                                                         Chapter 11

    NEW ENGLAND MOTOR FREIGHT, INC., et al.,1                      Case No. 19-12809 (JKS)

                            Debtors.                               (Jointly Administered)

    KEVIN P. CLANCY, solely in his capacity as the
    LIQUDATING TRUSTEE,

                            Plaintiff,
                                                                   Adv. Proc. No. 21-01100 (JKS)
    v.

    SHIPLEY FUELS MARKETING, LLC,

                            Defendant.


                    STIPULATION AND CONSENT ORDER
             RESOLVING DISPUTES WITH SHIPLEY FUELS MARKETING, LLC



1The Debtors in these Chapter 11 Cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: New England Motor Freight, Inc. (7697); Eastern Freight Ways, Inc. (3461); NEMF World Transport, Inc.
(2777); Apex Logistics, Inc. (5347); Jans Leasing Corp. (9009); Carrier Industries, Inc. (9223); Myar, LLC (4357);
MyJon, LLC (7305); Hollywood Avenue Solar, LLC (2206); United Express Solar, LLC (1126); and NEMF Logistics,
LLC (4666).

                                                        2
       This stipulation and consent order (the “Stipulation”) is made by and among Kevin P.

Clancy, solely in his capacity as the liquating trustee (the “Liquidating Trustee” or “Plaintiff”),

and Shipley Fuels Marketing, LLC (the “Defendant” and, together with the Plaintiff, the “Parties”).

The Parties, through their undersigned counsel, hereby stipulate and agree as follows:

       WHEREAS, on February 11, 2019 (the “Petition Date”), the above-captioned debtors (the

“Debtors”), filed voluntary petitions for relief under Chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of New

Jersey (the “Court”); and

       WHEREAS, Kevin P. Clancy of CohnReznick LLP was duly appointed as the Liquidating

Trustee of the Liquidating Trust (see Notice of (A) Entry of Order Confirming the Joint Plan and

Disclosure Statement; (B) Occurrence of the Effective Date; and (C) Certain Important Deadlines

[Docket No. 1153]); and

       WHEREAS, the Debtors and the Defendant had various business relationships prior to the

Petition Date; and

       WHEREAS, on February 11, 2021, the Plaintiff commenced an adversary proceeding in

this Court against the Defendant, Adversary Proceeding No. 21-01100, asserting, inter alia, that

the Plaintiff is entitled to avoid and recover, pursuant to sections 547, 548 and 550 of the

Bankruptcy Code, alleged preferential transfers (the “Preferential Transfers”) made by one or more

of the Debtors to the Defendant in an amount not less than $214,136.33 during the 90-day period

prior to the Petition Date and to disallow claims under section 502 of the Bankruptcy Code (the

“Adversary Proceeding”); and

       WHEREAS, the Defendant disputes the allegation in the Adversary Proceeding; and



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         WHEREAS, rather than proceed with litigation concerning the Preferential Transfers, and

based upon consideration of the Defendant’s asserted defenses and documents in support thereof,

the Parties engaged in good faith, arms’ length negotiations to resolve the Preferential Transfers

in their entireties; and

         WHEREAS, the Parties intend to memorialize the agreement resolving the issues raised

in the Adversary Proceeding pursuant to the terms of this Stipulation.

         NOW THEREFORE, FOR GOOD AND VALUABLE CONSIDERATION THE

PARTIES HERETO ACKNOWLEDGE RECEIVING, IT IS HEREBY STIPULATED,

AGREED AND ORDERED AS FOLLOWS:

         1.     Recitals. The reitals set forth above are hereby incorporated by reference herein.

         2.     Settlement Amount. In accordance with this Stipulation, within ten (10) days after

execution of this Stipulation by all Parties, the Defendant will make payment to the Plaintiff in the

amount of $20,500.00 (the “Settlement Amount”), for the full and complete satisfaction of the

Debtors’ claims against the Defendant. The Settlement Amount shall be mailed or wired in

accordance with instructions provided to counsel for the Defendant by counsel for the Plaintiff. In

the event the Stipulation is not approved by the Court, the Plaintiff shall, within seven (7) business

days of a ruling or order denying in any way approval of the Stipulation, return the Settlement

Amount to the Defendant via a check or wire in accordance with instructions from the Defendant,

without necessity of any sort of demand or notice from the Defendant to the Plaintiff or its counsel.

         3.     Settlement Effective Date. The effective date of this Stipulation and all of its

terms shall be the date upon which all of the following have occurred: (i) entry of an order the

Court approving this Stipulation; and (ii) the Plaintiff has received the Settlement Amount in good

funds.



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       4.      Dismissal. Within seven (7) days after entry of an Order approving this Stipulation

and receipt of the Settlement Amount in good funds, the Plaintiff shall file a Notice of Dismissal

without need for the Parties to enter into a stipulation of dimissal, thereby dismissing the Adversary

Proceeding and the claims asserted therein with prejudice and without costs against the Defendant.

       5.      Liquidating Trustee’s Limited Release. Effective as of the Settlement Date, the

Plaintiff, solely in his capacity as the Liquidating Trustee and not in any individual or other

capacity, shall be deemed to have irrevocably and unconditionally, fully, finally and forever

waived, released, acquitted and discharged the Defendant, its attorneys, accountants, financial

advisors, directors, officers, employees, agents, parents, subsidiaries, and the successors and

assigns of any of them (collectively, the “Defendant Releasees”) from any and all claims, manner

of actions, causes of action (whether at law, equity and/or arbitration), suits, costs, debts, demands,

liabilities and/or damages (whether direct, indirect, consequential or incidental), whether known

or unknown, suspected or unsuspected, which the Liquidating Trustee has, has had, or may have

or may claim to have against the Defendant Releasees solely in connection with the Preferential

Transfers. Nothing herein shall be deemed to be a relase of any rights of the Liquidating Trustee

to enforce the terms of this Stipulation.

       6.      Defendant’s Limited Release. Effective as of the Settlement Date, the Defendant

Releasees shall be deemed to have irrevocably and unconditionally, fully, finally and forever

waived, released, acquitted and discharged the Liquidating Trustee, the Debtors, their past and

present attorneys, accountants, financial advisors, directors, officers, employees, agents, parents,

subsidiaries, and the successors and assigns of any of them (collectively, the “Liquidating Trustee

Releasees”) from any and all claims, manner of actions, causes of action (whether at law, equity

and/or arbitration), suits, costs, debts, demands, liabilities and/or damages (whether direct,

indirect, consequential or incidental), whether known or unknown, suspected or unsuspected,
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which the Defendant has, has had, or may have or may claim to have against the Liquidating

Trustee Releasees solely in connection with the Preferential Transfers. As part of this Stipulation,

the Defendant agrees to waive its claim under section 502(h) of the Bankruptcy Code; however,

this Stipulation shall not, in any way, affect any distribution the Defendant has received, or will

receive, in the Chapter 11 Case relating to its scheduled and/or allowed proof(s) of claims on file

in the Chapter 11 Case. Nothing herein shall be deemed to be a relase of any rights of the

Liquidating Trustee to enforce the terms of this Stipulation.

       7.      No Admissions. This Stipulation is not and shall not in any way be construed as

an admission by the Parties of the allegations made in connection with the Adversary Proceeding

or the Preferential Transfers.

       8.      Expenses. The Parties shall bear their own costs, expenses, and attorneys’ fees

incurred to date in connection with the Adversary Proceeding and this Stipulation. In the event of

any dispute in connection with the enforcement of an Order approving the Stipulation, the

prevailing Party shall be entitled to its reasonable attorneys’ fees, costs and all necessary

disbursements and out-of-pocket expenses, whether statutorily approved or non-approved costs,

incurred in connection with such action or proceeding, as determined by the Court.

       9.      Miscellaneous.

               (a)     All matters involving the interpretation, construction and/or validity of this

Stipulation shall be goverened and construed in accordance with the laws of the State of New

Jersey, without reference to choice of law provisions. THE PARTIES HERETO EXPRESSLY

WAIVE ANY RIGHT TO TRIAL BY JURY OF ANY DISPUTE ARISING UNDER OR

RELATED TO THIS STIPULATION.

               (b)     This Stipulation may be executed in counterparts, each of which will

constitue an original, and all of which will constitue one and the same Stipulation, and facsimile
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and email signatures shall be deemed to be original siganatures for all purposes of this Stipulation.

When fully executed, this Stipulation shall be filed in the Adversary Proceeding.

               (c)     This Stipulation is for the benefit of the Parties hereto and their respective

successors or assigns, including any trustee subsquenty appointed in the Debtors’ chapter 11 cases.

               (d)     This Stipulation supersedes any prior understandings, agreements,

representations by, between and among the Parties, whether written or oral, which may be related

to the subject matter hereof.

               (e)     This Stipulation is the entire agreement of the Parties and cannot be

amended or waived except in a writing executed by all of the Parties hereto. Notwithstanding

anything to the contrary in this Stipulation, no waiver of any provision of this Stipulation or breach

or default of this Stipulation shall extend to or affect in any way any of the provisions of this

Stipulation or any other prior or subsequent breach or default.

               (f)     The United States Bankruptcy Court for the District of New Jersey shall

retain exclusive jurisdiction (and the Parties consent to such retention of jurisdiction) with respect

to any disputes arising from or related to, or other actions to interpret, administer or enforce the

tems and provision of, this Stipulation.

               (g)     Each of the Parties and their respective counsel have reviewed this

Stipulation and agree that any rule of construction to the effect that ambiguities are to be resolved

against the drafting party shall not apply in the interpretation of this Stipulation.

               (h)     Each person or entity who executes this Stipulation on behalf of another

person or entity represents and warrants that he, she, or it is duly authorized to execute this

Stipulation on behalf of such person or entity, has the requisite authority to bind such person or

entity, and such person or entity has full knowledge of and has consented to this Stipulation. The

representations and warranties set forth in this paragraph shall survive execution of the Stipulation
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November 1
